  08-13555-mg                Doc 31495            Filed 10/15/12 Entered 10/15/12 18:48:54                                    Main Document
                                                              Pg 1 of 2

Form 210A (10/06)


                              UNITED STATES BANKRUTPCY COURT
                                             Southern District of New York

In re Lehman Brothers Holdings, Inc.                                                               Case No. 08-13555

                              TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the
claim referenced in this evidence and notice.


Name of Transferee                                                           Name of Transferor

Attestor Capital, LLP for and on behalf                                        Chauny S.A.
of Attestor Value Master Fund, LP

Name and Address where notices to Transferee                                   Court Claim# (if Known):34873
should be sent:                                                                Amount of Claim [Principal Amount]: $3,574,050.24
c/o Attestor Capital LLP                                                       Date Claim Filed: 09/24/2009
21 Upper Brook Street
London, W1K 7PY
United Kingdom
Attention: Isobelle White
Isobelle.white@attestorcapital.com




I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
my knowledge and belief.


By: /s/ Jan Peters                                                Date:           October 15, 2012
Transferee/Transferee’s Agent
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
08-13555-mg   Doc 31495   Filed 10/15/12 Entered 10/15/12 18:48:54   Main Document
                                      Pg 2 of 2
